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     Attorneys for Lead Plaintiffs
11   and All Others Similarly Situated
12
13                        UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
15
16   IN RE CHINA INTELLIGENT        Case No.: 2:11-cv-02768-PSG (SSx)
17
     LIGHTING AND ELECTRONICS, INC.
     SECURITIES LITIGATION          LEAD PLAINTIFFS’ NOTICE OF
18                                  MOTION AND MOTION FOR
19                                  FINAL APPROVAL OF
                                    SETTLEMENTS AND PLAN OF
20                                  ALLOCATION AND FOR AN
21                                  AWARD OF ATTORNEYS’ FEES
                                    AND EXPENSES
22
23
     THIS DOCUMENT RELATES TO:                  Date:      March 9, 2015
24   ALL ACTIONS                                Time:      1:30 p.m.
                                                Courtroom: 880
25                                              Judge:     Hon. Philip S. Gutierrez
26
27
28

     LEAD PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF SETTLEMENTS
     AND PLAN OF ALLOCATION AND FOR AN AWARD OF ATTORNEYS’ FEES AND EXPENSES –
     Case No.:2:11-cv-02768-PSG (SSx)
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 1         PLEASE TAKE NOTICE that on March 9, 2015 at 1:30 p.m. before the
 2   Honorable Philip S. Gutierrez in Courtroom 880, United States District Court for
 3   the Central District of California, Edward R. Roybal Federal Building and United
 4   States Courthouse, 255 East Temple Street, Los Angeles, California, 90012, Lead
 5   Plaintiffs Perritt Emerging Opportunities Fund, Acerco SA, and Antoine de
 6   Sejournet (collectively, “Lead Plaintiffs”) will and hereby move for an order
 7   finally approving Settlements and Plan of Allocation, and awarding Lead Counsel
 8   attorneys’ fees and expenses incurred in the prosecution of the litigation, as well as
 9   payment of notice and administration expenses. This motion is based upon the
10   Memorandum of Law in Support of Motion for Award of Attorneys’ Fees and
11   Expenses filed herewith; the Declaration of Thomas C. Bright and Laurence M.
12   Rosen in Support of Final Approval of Settlement, Plan of Allocation, and
13   Application for an Award of Attorneys’ Fees and Reimbursement of Litigation
14   Expenses, the Declaration of Carole Sylvester, and all other pleadings and matters
15   of record, and such additional evidence and testimony as may be presented at the
16   hearing.
17
18   Dated: February 9, 2015          Respectfully submitted,
19                                    GOLD BENNETT CERA & SIDENER LLP
20                                    By: s/Thomas C. Bright
                                      Thomas C. Bright
21
                                      -and-
22
                                      THE ROSEN LAW FIRM, P.A.
23                                    By: s/Laurence M. Rosen
                                      Laurence M. Rosen
24
                                      Attorneys for Lead Plaintiffs
25                                    and All Other Similarly Situated
26
27
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     LEAD PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF SETTLEMENTS
     AND PLAN OF ALLOCATION AND FOR AN AWARD OF ATTORNEYS’ FEES AND EXPENSES –
     Case No.:2:11-cv-02768-PSG (SSx)      1
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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on February 9, 2015, I electronically filed the foregoing
 3   with the Clerk of the Court using the CM/ECF system which will send notification
 4   of such filing to all counsel of record in this action.
 5         I certify under penalty of perjury under the laws of the United States of
 6   America that the foregoing is true and correct. Executed on February 9, 2015.
 7
 8
                                               s/Thomas C. Bright
                                               Thomas C. Bright
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     LEAD PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF SETTLEMENTS
     AND PLAN OF ALLOCATION AND FOR AN AWARD OF ATTORNEYS’ FEES AND EXPENSES –
     Case No.:2:11-cv-02768-PSG (SSx)      2
